         Case 8:18-bk-06958-CPM          Doc 15     Filed 09/24/18     Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                                www.flmb.uscourts.gov

In re:

Carisa Hines                                                 Case No. 8:18-bk-06958-CPM
                                                             Chapter 7
         Debtor.
                                              /

                           TRUSTEE’S RESPONSE TO
                   MOTION FOR RELIEF FROM AUTOMATIC STAY

        COMES NOW, the Trustee, Carolyn R. Chaney, and responds to the Motion for
Relief From Automatic Stay, filed at Doc. Nos. 6 and 9, for property located at 5385 Quarry
Rock Road, Lakeland, FL 33809, and says:

       1. The Trustee does not object to the relief sought in the motion; however requests
the Court to delay the effective date of the Order lifting stay for a period of ninety (90) days
in order to allow the Trustee the opportunity to market and sell the property utilizing the
services of BK Global Real Estate Services.

         DATED: September 24, 2018.                   /s/Carolyn R. Chaney, Trustee
                                                      Post Office Box 530248
                                                      St. Petersburg, FL 33747-0248
                                                      Telephone: (727) 864-9851
                                                      Email: carolyn.chaney@earthlink.net


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been provided
by electronic or U.S. Mail delivery on September 24, 2018, to:

Office of U.S. Trustee, at USTPRegion21.TP.ECF@USDOJ.GOV
Debtor: Carisa Himes, 5385 Quarry Rock Road, Lakeland, FL 33809
Attorney for Debtor: Shelley K. Hogue, Esquire, 150 North Orange Avenue, Suite 414C,
     Orlando, FL 32801; Email. shogue@suncoast.law
Jacob Bair, Esquire, for Cobblestone Landing Townhomes Condominium Association, Inc., 301
     W. Platt Street, #375, Tampa, FL 33606; Email: jbair@blawgroup.com
Lindsey Savastano, Esquire, for Nationstar Mortgage LLC d/b/a Mr. Cooper, 2424 N.
     Federal Highway, Suite 360, Boca Raton, FL 33431; Email: Lavastano@LOGS.com.


                                                      /s/Carolyn R. Chaney, Esquire
